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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )                    CRIMINAL ACTION
                         Plaintiff,         )                    No. 12-20141-13-KHV
                                            )
v.                                          )                    CIVIL ACTION
                                            )                    No. 16-2536-KHV
DAMIAN MAYS,                                )
                                            )
                         Defendant.         )
____________________________________________)

                               MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion Under 28 U.S.C. § 2255 To Vacate,

Set Aside, Or Correct Sentence By A Person In Federal Custody (ECF No. 985). For reasons stated

below, the Court overrules defendant’s motion.

                                        BACKGROUND

       On November 20, 2013, a grand jury charged Damian Mays with conspiracy to manufacture,

to possess with intent to distribute and to distribute 500 grams or more of a mixture or substance

containing cocaine and two counts of using a communication facility in committing, causing and

facilitating the conspiracy. See Second Superseding Indictment (ECF No. 439), Counts 1, 11 and

12. On February 3, 2014, without a plea agreement, Mr. Mays pled guilty to all three counts. See

Petition To Enter Plea Of Guilty And Order Entering Plea (ECF No. 559).

       At sentencing, the Court calculated a base offense level of 32 under U.S.S.G. § 2D1.1 based

on a drug quantity of 1.69 kilograms of cocaine and 220 grams of cocaine base, or a total marijuana

equivalent of 1,123.62 kilograms. See Presentence Investigation Report (ECF No. 1131), ¶¶ 96,

100-01 (base offense level 32 for offense involving at least 1,000 kilograms but less than

3,000 kilograms of marijuana under 2013 version of Guidelines). The Court added two levels under
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U.S.S.G. § 2D1.1(b)(1) because defendant possessed a dangerous weapon during the offense,

another two levels under U.S.S.G. § 3C1.1 because defendant obstructed justice and two more levels

under U.S.S.G. § 3C1.2 because defendant recklessly created a substantial risk of death or bodily

injury to another in the course of fleeing from a law enforcement officer. See id., ¶¶ 87, 90-91. The

Court then subtracted two levels for defendant’s acceptance of responsibility. See id., ¶ 94. Based

on a criminal history category II and a total offense level of 36, defendant’s advisory guideline range

was 210 to 262 months. See id., ¶ 124.

       On May 12, 2014, the undersigned judge, sitting by designation, sentenced Mr. Mays to

220 months in prison. See Judgment In A Criminal Case (ECF No. 721) at 2. Defendant appealed.

On April 8, 2015, the Tenth Circuit Court of Appeals affirmed defendant’s conviction and sentence.

See Order And Judgment (ECF No. 928). On August 24, 2015, in light of Amendment 782 to the

Sentencing Guidelines, which reduced by two levels defendant’s base offense level, the Honorable

Kathryn H. Vratil reduced defendant’s sentence to 176 months. See Order Regarding Motion For

Sentence Reduction Pursuant To 18 U.S.C. § 3582(c)(2) (ECF No. 942).

       On July 28, 2016, defendant filed a motion to vacate his sentence under 28 U.S.C. § 2255.

Defendant asserts that the Court erred in calculating his guideline range under the United States

Sentencing Guidelines. In particular, defendant argues that the Court erroneously enhanced his

sentence for possession of a firearm, reckless endangerment and obstruction of justice.1



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                Defendant asserts that he timely sent his motion, but that it was not filed until after
the one-year deadline under 28 U.S.C. § 2255. The Court need not consider the timeliness of
defendant’s motion because his claims obviously lack merit. See United States v. Allen, 16 F.3d
377, 378–79 (10th Cir. 1994) (court may raise and enforce procedural bar sua sponte if doing so
furthers interests of judicial efficiency, conservation of scarce judicial resources and orderly and
prompt administration of justice).

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                                          DISCUSSION

       The standard of review of Section 2255 petitions is quite stringent. The Court presumes that

the proceedings which led to defendant’s conviction were correct. See Klein v. United States,

880 F.2d 250, 253 (10th Cir. 1989).

       Defendant challenges sentencing enhancements for possession of a firearm, reckless

endangerment and obstruction of justice. On direct appeal, defendant raised the same three issues.

The Tenth Circuit addressed each issue and affirmed this Court’s sentencing findings. See Order

And Judgment (ECF No. 928) at 10-15. Under the law of the case doctrine, once a court decides a

rule of law, that decision continues to govern the same issues in subsequent stages in the same case.

Arizona v. California, 460 U.S. 605, 618 (1983); see United States v. West, 646 F.3d 745, 748 (10th

Cir. 2011). The doctrine seeks to preserve the finality of judgments, to prevent continued

re-argument of issues already decided, and to preserve scarce judicial resources. Procter & Gamble

Co. v. Haugen, 317 F.3d 1121, 1132-33 (10th Cir. 2003). An important corollary to the law of the

case doctrine, known as the “mandate rule,” requires a district court to comply strictly with the

mandate rendered by the reviewing court. See Ute Indian Tribe of the Uintah & Ouray Reservation

v. Utah, 114 F.3d 1513, 1520-21 (10th Cir. 1997).

       The Tenth Circuit recognizes only three “exceptionally narrow” grounds for departure from

the law of the case doctrine: (1) when the evidence in a subsequent trial is substantially different;

(2) when controlling authority has subsequently made a contrary decision of the law applicable to

such issues; or (3) when the decision was clearly erroneous and would work a manifest injustice.

United States v. Alvarez, 142 F.3d 1243, 1247 (10th Cir. 1998). Defendant has not cited any

potential exception to the law of the case doctrine or mandate rule, or otherwise explained why this


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Court should rule in his favor on issues which the Tenth Circuit specifically rejected on direct

appeal. Accordingly, the Court overrules defendant’s motion to vacate his sentence.

                                          CONCLUSION

       For the above reasons, the Court finds that the files and records in this case conclusively

show that defendant is not entitled to relief. No evidentiary hearing or response by the government

is required to resolve defendant’s claim. See 28 U.S.C. § 2255; United States v. Marr, 856 F.2d

1471, 1472 (10th Cir. 1988) (no hearing required where court may resolve factual matters raised by

Section 2255 petition on record); United States v. Barboa, 777 F.2d 1420, 1422-23 (10th Cir. 1985)

(hearing not required unless petitioner’s allegations, if proved, would entitle her to relief and

allegations not contravened by record).

                            CERTIFICATE OF APPEALABILITY

       An appeal from a final order in a Section 2255 proceeding may not be taken unless a circuit

justice or judge issues a certificate of appealability. 28 U.S.C. § 2253(c)(1)(B). A certificate of

appealability may issue only if petitioner has made a “substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). This standard requires that petitioner demonstrate that

“reasonable jurists could debate whether (or, for that matter, agree that) the petition should have

been resolved in a different manner or that the issues presented were adequate to deserve

encouragement to proceed further.” United States v. Keyes, 280 F. App’x 700, 701 (10th Cir. 2008)

(quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)).            For the reasons detailed in this

Memorandum And Order, Mr. Mays has not made a substantial showing of the denial of a

constitutional right, and the Court therefore denies a certificate of appealability.




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       THEREFORE, it is hereby

       ORDERED that defendant’s Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or

Correct Sentence By A Person In Federal Custody (ECF No. 985) is OVERRULED and that a

certificate of appealability as to the ruling on defendant’s Section 2255 motion is DENIED.

       Dated this 28th day of April, 2017 at Kansas City, Kansas.



                                                    SCOTT W. SKAVDAHL
                                                    United States District Judge




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